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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

ROSE PHOMMANYVONG, Civil Action No.:
Plaintiff,

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KOHLS DEPARTMENT STORES,
INC.,

Defendant.

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COMPLAINT AND DEMAND FOR JURY TRIAL
Plaintiff, ROSE PHOMMANYVONG (“Plaintift”), by and through her
attorneys, the Law Offlces of Joel E. Fenton, PLC and Kirnrnel & Silverman,
P.C., alleges the following against KOHLS DEPARTMENT STORES, INC.

(“Defendant”):

INTRODUCTION
1. Plaintist Complaint is based on the Telephone Consumer Protection

Act, 47 U.s.C. § 227, er seq. (“TCPA”).

JURISDICTION AND VENUE
2. This Court’s jurisdiction arises under 28 U.S.C. § 1331, Which

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PLAINTIFF’ S COMPLAINT

 

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grants this Court original jurisdiction of all civil actions arising under the laws of
the United States. vSee Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747,
181 L. Ed. 2d 881 (2012).

3. Defendant conducts business in the State of lowa therefore personal
jurisdiction is established

4. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

PARTIES

1 5. Plaintiff is a natural person residing in Huxley, loWa.

6. Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).

7. Defendant is a company With its principal place of business located
at N56 West 17000 Ridgewood Dr., l\/Ienornonee Falls, Wisconsin 53051.

8. Defendant is a “person” as that term is defined by 47' U.S.C. §
153(39).

9. Defendant acted through its agents, employees, officers, members,
directors, heirs, Successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

FACTUAL ALLEGATIONS

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PLAlNTlFF’ S COMPLAINT

 

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10. ` Plaintiff has a cellular telephone number.

ll. Plaintiff has only used this number as a cellular telephone number.

12. Beginning in or around the spring of 2015 and continuing through
2015 and into 2016, Defendant called Plaintiff’s cellular telephone number
repeatedly. 4

13. When contacting Plaintiff on her cellular telephone, Defendant used
an automatic telephone dialing system and/or pre-recorded or artificial voice.

14. Plaintiff knew Defendant Was using an automatic telephone dialing
system and/or pre-recorded or artificial voice as calls Would begin With either a
recorded voice or a noticeable delay or silence With no caller on the line before a
live representative Would come on the phone or the call Would terminate. \

15. Defendant’s calls Were not for emergency purposes

16. Fed up With the repeated calls, in or around the fall of 2015, Plaintiff
first told the Defendant to stop calling her.

l7. Defendant ignored Plaintiff’s request to stop calling and continued to
call up to several times a day.

18. Plaintiff found Defendant’s repeated calls to be frustrating, annoying,
harassing, invasive, and _up'setting.

19. Upon information and belief, Defendant conducts business in a

manner Which violates the Telephone Consumer Protection Act.

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PLAINTIFF’S COMPLAINT

 

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DEFENDANT VIOLATED THE TCPA

20. Plaintiff incorporates the foregoing paragraphs as though the same
were set forth at length herein.

21. Defendant initiated automated calls to Plaintiff using an automatic
telephone dialing system and/or artificial or pre-recorded voice.

22. Defendant’s calls to Plaintiff were not made for “emergency
purposes.”

23. After Defendant was told to stop calling, Defendant knew or should
have known it did not have consent to call and/or that any consent it thought it had
was revoked.

24. The acts and/or omissions of Defendant were done unfairly,
unlawfully, intentionally, deceptively, fraudulently, and absent bona fide error,
lawful right, legal defense, legal justification, or legal excuse.

25. As a result of the above violations of the TCPA, Plaintiff has suffered
the losses and damages as set forth above entitling Plaintiff to an award of

statutory, actual, and treble damages

WHEREFORE, Plaintiff, ROSE PHOMMANY VONG respectfully prays

for judgment as follows: 1

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a. All actual damages suffered pursuant to 47 U.S.C. §
227<5)<3)<A);

b. Statutory damages of $500.00 per violative telephone ca11
pursuant to 47 U.S.C. § 227(b)(3)(B); l

c. Treble damages of $1,500.00 per violative telephone call
pursuant to 47 U.S.C. § 227(b)(3);

d. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);

e. Any other relief deemed appropriate by this Honorable Court.

DEMAND FOR JURY TRIAL
PLEASE TAKE NOTICE that Plaintiff ROSE PHGMMAN Y VONG,

demands a jury trial in this case.

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PLAINTIFF’S COMPLAINT

 

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Respectfully submitted,
Dated: February 9, 2018 By: /s/ Joel E. Fenton

Joel E. Fenton IS9997761

Law Offices of Joel E. Fenton, PLC
541 31St St., Ste. C

Des Moines, IA 50312

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PLAINTIFF’ S COMPLAINT

 

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PLAINTIFF’S COMPLAINT

 

